Filing Case 2:22-cv-14243-AMC
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                                    022 02:05:28 PM on FLSD Docket 07/06/2022 Page 1 of 9


                      IN THE COUNTY COURT OF THE 19TH JUDICIAL CIRCUIT
                           IN AND FOR INDIAN RIVER COUNTY, FLORIDA

                                                      Case No.
         MICHAEL FRAZIER,

                Plaintiff,
         V.
                                                                        JURY TRIAL DEMANDED
         RADIUS GLOBAL SOLUTIONS LLC,
                                                                        INJUNCTIVE RELIEF SOUGHT
                Defendant.


                                                    COMPLAINT

                Plaintiff Michael Frazier ("Plaintiff') sues Radius Global Solutions LLC ("Defendant") for

         violations of the Fair Debt Collection Practices Act ("FDCPA"),

                                          JURISDICTION AND VEN1LTE

                1.      This Court has subject matter jurisdiction over Plaintiff and Defendant

         (collectively, the "Parties"), because the cause of action arises within the jurisdiction of this Court

         and, thus, venue and jurisdiction are proper.

                 2.     This Court has personal jurisdiction over Defendant because Defendant is

         operating, present, and/or doing business within this jurisdiction and because the complained of

         conduct of Defendant occurred within Indian River County, Florida.

                 3.      The amount in controversy is greater than $8,000, but does not exceed $15,000,

         exclusive of costs, interest, and attorneys' fees, and is otherwise within this Court's jurisdiction.

                 4.      Venue of this action is proper in this Court because, pursuant to Fla. Stat. § 47.011,

         et seq., the cause of action alleged below arose in Indian River County Florida.




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                                                PARTIES

          5.      Plaintiff is a natural person, and a citizen of the State of Florida, residing in Indian

   River County, Florida.

          6.      Defendant is a Minnesota limited liability company, with its principal place of

   business located in Edina Minnesota 55439.

                                    DEMAND FOR JURY TRIAL

          7.      Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.

                                            ALLEGATIONS

          8.      On June 17, 2021, Plaintiff suffered an accident and related injuries in the course

   and scope of Plaintiffs employment that required medical treatment and/or services (the "Work-

   injury").

          9.      On June 21, 2021, Gilford Sound Emergency Physicians LLC ("Care Provider")

   provided Plaintiff with a portion of the required medical services needed to treat the Work-Injury,

   whereby the only medical services provided to Plaintiff by Care Provider were for the treatment

   of the Work-Injury.

          10.     At the time Care Provider provided its respective medical services to Plaintiff,

   Plaintiff informed Care Provider that the sought treatment was for the Work-Injury.

          11.     Care Provider charged a fee for the provision of its (Care Provider's) respective

   medical services for treatment of the Work-Injury (the "Consumer Debt").

           12.    The Consumer Debt arose from Plaintiffs work-related accident and injuries.

          13.     Care Provider knew that payment of the Consumer Debt was the responsibility of

   Plaintiffs employer and/or the insurance carrier of Plaintiffs employer.




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          14.        Care Provider knew that payment of the Consumer Debt was not Plaintiff's

  responsibility.

          15.        Care Provider knew that it did not have any statutory or contractual right to attempt

   to collect the Consumer Debt from Plaintiff. Despite knowing this, however, Care Provider began

   attempting to collect the Consumer Debt from Plaintiff

          16.        Thereafter, and despite knowing that it did not have any statutory or contractual

   right to attempt to collect the Consumer Debt from Plaintiff, Care Provider contacted Defendant

   to collect, or attempt to collect, the Consumer Debt from Plaintiff

           17.       On a date better known by Defendant, Defendant began attempting to collect the

   Consumer Debt from Plaintiff

           18.       Defendant is a business entity engaged in the business of soliciting consumer debts

   for collection.

           19.       Defendant is a business entity engaged in the business of collecting consumer debts.

           20.       Defendant regularly collects or attempts to collect, directly or indirectly, debts

   owed or due or asserted to be owed or due another.

           21.       Defendant is registered with the Florida Office of Financial Regulation as a

   "Consumer Collection Agency."

           22.       Defendant's "Consumer Collection Agency" license number is CCA0900498.

           23.       Defendant maintains all the records specified in Rule 69V-180.080, Florida

   Administrative Code.

           24.       The records specified by Rule 69V-180.080, Florida Administrative Code, of which

   Defendant does maintain, are current to within one week of the current date.




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          25.     For Defendant's "Consumer Collection Agency" license to remain valid, Defendant

   is required to maintain, at minimum, all records specified in Rule 69V-180.080, Florida

   Administrative Code, and keep such records current within one week of the current date.

          26.     Rule 69V-180.080(3)(e) of the Florida Administrative Code commands that

   Defendant shall maintain: "[t]he debtor's account of activity disclosing.., a record of payments

   made by the debtor, including the date received and the amount and balance owing."

          27.     Rule 69V-180.080(9)(a)-(b) of the Florida Administrative Code commands that

   Defendant shall maintain: "basic information about the debt including, at minimum...

   [d]ocumentation of the debt provided by the creditor," as well as "[t]he date the debt was incurred

   and the date of the last payment."

          28.     On a date better known to Defendant, Defendant sent a collection letter, internally

   dated April 5, 2022, to Plaintiff (the "Collection Letter") in an attempt to collect the Consumer

   Debt. A copy of the Collection Letter is attached hereto as Exhibit "A."

          29.     The Collection Letter is a communication from Defendant to Plaintiff in connection

   with the collection of a debt.

          30.     The Collection Letter represents an action to collect a debt by Defendant.

           31.    Defendant, by way of the records which it (Defendant) is required to maintain to

   retain a valid Consumer Collection Agency license with the Florida Department of State, knew

   that the Consumer Debt arose from the treatment of the Work-Injury and otherwise knew that it

   (Defendant), as well as Care Provider, did not have any statutory or contractual right to attempt to

   collect the Consumer Debt from Plaintiff

                                                COUNT 1
                              VIOLATION OF 15 U.S.C. 1692e(2)(A)

           32.     Plaintiff incotporates by reference paragraphs 8 through 31 of this Complaint.


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          33.     Pursuant to Fla. Stat. § 440.13(2)(a), an injured employee is entitled to "such

   medically necessary remedial treatment, care, and attendance for such period as the nature of the

   injury or the process of the recovery may require...."

          34.     Pursuant to Fla. Stat. § 440.13(13)(a), "[a] health care provider may not collect or

   receive a fee from an injured employee within this state, except as otherwise provided by this

   chapter. Such providers have recourse against the employee or carrier for payment for services

   rendered in accordance with this chapter."

          35.     An employee is shielded from liability in any dispute between the employer or

   carrier and health care provider regarding reimbursement for the employee's authorized medical

   or psychological treatment. See generally Fla. Stat. § 440.13.

          36.     Section 1692e of the FDCPA prohibits the use of "false, deceptive, or misleading

   representation or means in connection with the collection of any debt." 15 U.S.C. §1692e. The

   sixteen subsections of § 1692e set forth a non-exhaustive list of practices that fall within this ban,

   including, but not limited to: "Nhe false representation of the character, amount, or legal status

   of any debt." 15 U.S.C. § 1692e(2)(A). (emphasis added).

          37.     As stated above, Defendant sent the Collection Letter to Plaintiff in an attempt to

   collect the Consumer Debt. The Collection Letter falsely represents that Plaintiff is responsible for

   the repayment of the Consumer Debt. Here, Plaintiff is not liable or otherwise responsible for the

   payment of the medical services rendered by Care Provider, as such medical services were

   rendered to Plaintiff as a result of a work-related injury sustained by Plaintiff.

           38.    Defendant by and through the Collection Letter, falsely represents the character of

   the Consumer Debt, in that, the Collection Letter falsely represents Consumer Debt as a debt which

   Plaintiff is solely responsible and/or otherwise obligated to pay.



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          39.     Further, by and through the Collection Letter, Defendant falsely represents the

   amount of the Consumer Debt, in that, the sought by the Collection Letter exceeds the amount

   which Care Provider is entitled pursuant to the fee schedules and/or guidelines for services

   rendered to injured workers such as Plaintiff

          40.     Thus, by and through the Collection Letter, Defendant violated § 1692e(2)(A) of

   the FDCPA by falsely representing the character of the Consumer Debt, as well as by falsely

   representing the amount of the Consumer Debt.

          41.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

   against Defendant, awarding Plaintiff the following relief:

                  (a)     Statutory and actual damages as provided by 15 U.S.C. § 1692k;

                  (b)     Costs and reasonable attorneys' fees pursuant to 15 U.S.C. § 1692k; and

                  (c)     Any other relief that this Court deems appropriate under the circumstances.

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        DATED: June 13, 2022
                                         Respectfully Submitted,

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                       EXHIBIT "A"
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                                                                                 POSTAL CONNECTIONS                            . PAGE 01/81
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